Case 1:05-cr-00023-MR-WCM   Document 226   Filed 02/27/06   Page 1 of 6
Case 1:05-cr-00023-MR-WCM   Document 226   Filed 02/27/06   Page 2 of 6
Case 1:05-cr-00023-MR-WCM   Document 226   Filed 02/27/06   Page 3 of 6
Case 1:05-cr-00023-MR-WCM   Document 226   Filed 02/27/06   Page 4 of 6
Case 1:05-cr-00023-MR-WCM   Document 226   Filed 02/27/06   Page 5 of 6
Case 1:05-cr-00023-MR-WCM   Document 226   Filed 02/27/06   Page 6 of 6
